           Case 1:08-cr-00224-LJO-DLB Document 266 Filed 06/02/09 Page 1 of 2

 1

 2

 3

 4

 5

 6                               IN THE UNITED STATE DISTRICT COURT,
 7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

10
     UNITED STATES OF AMERICA,                   )   Case No. CR-08-00224-OWW
                                                 )
11                  Plaintiff,                   )
            vs.                                  )   ORDER ON DEFENDANT
12
                                                 )   HOLLOWAY’S MOTION FOR
13   ROBERT HOLLOWAY, et. al.,                   )   IMMEDIATE DISCLOSURE
                                                 )
14                  Defendants.                  )
                                                 )
15

16
            On May 19, 2009 defendant Robert Holloway filed a motion for immediate disclosure of
17
     evidence of possible government misconduct in its applications to conduct electronic surveillance
18
     during the investigation of Mr. Holloway and others. The government responded to this motion
19
     and the defendant filed a reply, and the Court held a hearing on May 26, 2009. After reading and
20
     considering the pleadings and hearing and considering the arguments of counsel, the Court issues
21
     the following Order:
22
            (1) The Court will conduct a hearing on June 18, 2009 at which the BATFE Agent whose
23
     allegations, published online, gave rise to the defendant’s motion, will testify and may be
24
     examined by the parties and the Court. The Court is advised by defense counsel for Mr. Holloway
25
     that a subpoena has been or will be served requiring that individual to bring with him to Court
26
     certain documents about which he may be examined when testifying.
27
            (2) It is further Ordered that, no later than four court days before the evidentiary hearing
28
     scheduled for June 18, 2009 (by June 12, 2009), the government shall provide to the Court and to
     _______________________________________________________________________________________________
     [Proposed] Order on Defendant Holloway’s Motion for Immediate Disclosure;
     [No.CR-08-00224-OWW]
                                                    1
           Case 1:08-cr-00224-LJO-DLB Document 266 Filed 06/02/09 Page 2 of 2

 1   counsel for the moving defendants any and all documents, reports, letters, email correspondence,
 2   memoranda, contemporaneous notes, and any other documentary evidence or audio recording, in
 3   whatever form, pertaining to objections raised by the BATFE Agent who is to testify at the June
 4   18, 2009 hearing, to the government’s application for Court authorization to conduct electronic
 5   surveillance in this case. In complying with this Order the government is directed to make inquiry
 6   of the Task force agencies involved in the investigation of Road Dog Cycle and Robert Holloway
 7   concerning the existence of documents responsive to this Order, and to produce any such
 8   documents.
 9          (3) It is further Ordered that if the government believes any documents responsive to this
10
     Order contain sensitive information that should not be turned over to defense counsel, the
11
     government may provide such documents to the Court under seal, whereupon the Court will decide
12

13   whether the documents in complete or redacted form should be disclosed to the defense to

14   effectuate the purpose of the hearing scheduled for June 18, 2009.
15

16
     DATE: 6/1/2009                                      /s/ OLIVER W. WANGER
17                                                       Honorable Oliver W. Wanger
                                                         United States District Court Judge
18

19

20

21

22

23

24

25

26

27

28

     _______________________________________________________________________________________________
     [Proposed] Order on Defendant Holloway’s Motion for Immediate Disclosure;
     [No.CR-08-00224-OWW]
                                                    2
